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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

 Zurich American Insurance Company                  ¦    Civil Action No.:
                                                    ¦
                         Plaintiff,                 ¦    1:22-cv-01535-CPO-MJS
                                                    ¦
 vs.                                                ¦    THIRD JOINT MOTION TO
                                                    ¦    EXTEND CASE MANAGEMENT
 Asphalt Paving Systems, Inc.                       ¦
                                                         DEADLINES
                                                    ¦
                         Defendant.                 ¦
                                                    ¦

         Plaintiff Zurich American Insurance Company (“Zurich”) and Defendant Asphalt Paving

 Systems, Inc. (“Asphalt”), pursuant to Rule 16 of the Federal Rules of Civil Procedure and Local

 Rule 6.1, jointly move this Court to extend all remaining case management deadlines by

 approximately 60 days. This is the parties’ third request for an extension of discovery deadlines.

 In support, the parties jointly state:

         A. Procedural History

         1.      Zurich commenced this action against Asphalt on March 18, 2022, and Asphalt was

 served with process on March 25, 2022. (ECF Nos. 1, 5.)

         2.       Thereafter, Asphalt filed a partial motion to dismiss, and Asphalt objected to

 discovery while the motion to dismiss was pending. (ECF Nos. 30, 34.)

         3.      On January 13, 2023, this Court entered an Order granting in part and denying in

 part Asphalt’s motion to dismiss. (ECF No. 35-36.)

         B. Scheduling Order

         4.      The Court conducted an Initial Conference on March 1, 2023. (ECF No. 39.)

         5.      Following the Initial Conference, the Court entered its Scheduling Order setting

 various case management deadlines. (ECF No. 42.)
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         6.     The parties filed a Joint Motion to Extend Case Management Deadlines on

 September 8, 2023 seeking a 60-day extension. (ECF Nos. 46, 47.) The Court granted the motion

 and extended the deadlines. (ECF No. 48.)

         7.     The parties filed a Second Joint Motion to Extend Case Management Deadlines on

 January 17, 2024 seeking approximately an 80-day extension. (ECF No. 51.) The Court granted

 the motion and extended the deadlines. The current deadline to conclude pretrial factual discovery

 is April 19, 2024. (ECF No. 52.)

         C. Discovery Completed to Date

                Written Discovery

         8.     Consistent with the Scheduling Order, the parties each made initial disclosures by

 March 15, 2023 and served their initial written discovery requests by April 1, 2023. (ECF No. 42

 at ¶ 1). Zurich served supplemental written discovery requests on November 16 and December 6,

 2023.

         9.     The parties’ responses to the written discovery requests are complete and there are

 no remaining disputes surrounding those responses.

         10.    Additionally, Zurich served subpoenas for documents on seven third-parties,

 including Asphalt’s insurance brokers, several state departments of motor vehicles, and the United

 States Department of Transportation (“USDOT”). The parties are still awaiting a response from

 the subpoena to the USDOT.

                Oral Discovery

         11.    Zurich served seven notices of deposition directed to Asphalt’s employees and

 representatives, and two subpoenas for depositions directed to Asphalt’s brokers. The depositions




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 of Asphalt’s brokers have already taken place, and the depositions of Asphalt’s employees are

 scheduled for March and April 2024.

        12.     Asphalt requested the depositions of two Zurich employees and a Zurich corporate

 representative, and those depositions are scheduled to proceed in April and May 2024.

        D. Request for Extension of Time

        13.     The parties seek a 60-day extension of fact discovery, so that there is additional

 time to complete all depositions. The parties were unable to schedule all 12 depositions before

 April 19, 2024, but have reached an agreed schedule that will allow all deponents to be deposed

 by early May. The parties further request that expert discovery similarly be extended by 60-days,

 as the fact discovery will be important to the expert opinions.

        14.     These extensions result in the following updated case management schedule:

                                           Current Deadline        Extended Deadline

         Pretrial factual discovery        April 19, 2024          June 18, 2024

         Plaintiff’s expert disclosures    May 6, 2024             July 8, 2024

         Defendant’s expert disclosures June 3, 2024               August 2, 2024

         Expert depositions                July 8, 2024            September 6, 2024

         Dispositive motions               August 3, 2024          October 4, 2024


        15.     This motion is made prior to the expiration of the existing discovery period. (See

 ECF No. 52.)

        16.     The parties previously filed two requests to extend the schedule, which were both

 granted. (ECF Nos. 48, 52.)

        17.     “Good cause” exists to modify the Scheduling Order because “the deadlines set

 forth in the scheduling order ‘cannot reasonably be met despite the diligence of the party seeking

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 the extension,’” for the reasons explained above. Castellani v. City of Atl. City, No. 13-5848

 (RMB/AMD), 2015 U.S. Dist. LEXIS 186949, at *5 (D.N.J. Aug. 4, 2015); see also Hall v. Cole,

 No. 08-5904 (NLH/AMD), 2009 U.S. Dist. LEXIS 88635, at *7 (D.N.J. Sept. 25, 2009) (finding

 good cause for an extension).

        WHEREFORE, the parties jointly and respectfully request the Court to enter an Order

 extending the remaining case management deadlines by approximately 60 days, consistent with

 Paragraph 13 and 14 above. A proposed order is submitted herewith.



 JOINTLY SUBMITTED BY:

  PLAINTIFF                                        DEFENDANT

  /s/ Christopher B. Fontenelli                    /s/ Amanda Szmuc

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